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                        UNITED STATES DISTRICT COURT

                  FOR THE EASTERN DISTRICT OF MICHIGAN


JOHN HOWELL, III.,
                                                             Case No. 24-cv-
                            Plaintiff,                       Hon.
v.

DTE ELECTRIC COMPANY,
a Michigan Corporation,

                        Defendant.
_______________________________/
 ERIC STEMPIEN (P58703)
 STEMPIEN LAW, PLLC
 Attorney for Plaintiff
 38701 Seven Mile Rd., Suite 445
 Livonia, MI 48152
 (734)744-7002
 eric@stempien.com

_______________________________/

                       COMPLAINT AND JURY DEMAND

        Plaintiff, John Howell, III., by and through his attorneys, Stempien Law,

PLLC, hereby complains against Defendant DTE Electric Company, and in support

thereof states:

     1. Plaintiff John Howell, III., (“Howell” or “Plaintiff”) is a resident of the City

        of Atlanta, Georgia and a former employee of DTE Electric.




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 2. Defendant DTE Electric Company (“DTE” or “Defendant”) is a Michigan

    corporation with its principal place of business located in the City of Detroit,

    Wayne County, Michigan.

 3. This Court has subject matter jurisdiction over Plaintiff’s claims for race

    discrimination and retaliation because they arise under federal law,

    specifically 42 USC §1981.

 4. Venue is proper in the Eastern District of Michigan because all parties reside

    in the Eastern District of Michigan and the events giving rise to the Plaintiff’s

    claims occurred in the Eastern District of Michigan.

                            GENERAL ALLEGATIONS

 5. Plaintiff Howell is an African-American man.

 6. Howell graduated from Port Huron High School in 1991.

 7. Prior to his employment with DTE, Howell served in the United States Army,

    from which he was honorably discharged.

 8. Howell began his employment with DTE Energy on December 18, 1999, in

    the position of cable mechanic.

 9. From 2000 to 2017, Howell held the position of Underground Cable Splicer

    for DTE Energy in the company’s Trombly Center Facility in Detroit.

 10.In February 2017, Howell was promoted to the position of Frontline

    Supervisor over Underground lines at the company’s Shelby Service Center.


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 11.In January 2020, Howell was promoted to General Supervisor of the

    company’s Shelby Service Center working for Manager Glen McCoy.

 12.In September 2021, McCoy offered and Howell accepted a pilot position as

    Underground General Supervisor at DTE’s Pontiac Service Center.

 13.From 2020 until November 2022, Howell reported to Glen McCoy, Manager-

    Distribution Operations.

 14.In October 2022, DTE transferred McCoy to the position of Safety Manager.

 15.Jerry Tullio (white male, age 32) took over McCoy’s position of Manager -

    Distribution Operation and became Howell’s manager in October 2022.

 16.Jerry Tullio is the nephew (by marriage) of the company’s CEO, Jerry Norcia.

 17.Tullio began his employment with DTE Energy in 2014.

 18.Before taking over as Howell’s manager in October 222, Tullio worked for

    DTE Energy as a Data Analyst (2014-2016), Operations Analyst (2016-2017),

    Strategist (2017-2018), Distribution Leadership Program-Supervisor (2019-

    2021), and General Supervisor-Electric Dispatch (2021-2022).

 19.In the position of Manager - Distribution Operation, Tullio reported to Anna

    Medina (Director) and Ryan Stowe (VP).

 20.Also in October 2022, Markeith Poteat took the position of Director –

    Regional Customer Operations.




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 21.In 2022, DTE Energy requested approval of a $388 million rate increase from

    the Michigan Public Service Commission (MPSC).

 22.On November 18, 2022, the MPSC rejected this request and approved a rate

    increase of $30.5 million.

 23.On November 23, 2022, the day before Thanksgiving, Tullio directed Howell

    to cut back the staffing schedule for his line crews in the upcoming days,

    specifically telling Howell not to schedule workers for full shifts, to cancel

    capital work, and not to schedule on-call workers.

 24.Tullio attempted to justify these directives on the ground that DTE’s requested

    rate increase had been denied by the MPSC, and the company had therefore

    gone into “lean mode”.

 25.Howell pushed back on this directive, telling Tullio that company policy was

    to keep capital work crews and flex workers on schedule through the weekend

    so there would be coverage available in case of outages.

 26.In fact, even while Tullio was directing Howell to cut back on his crews, other

    service stations were allowed to maintain full crew schedules for the

    upcoming Thanksgiving holiday and weekend.

 27.On or about November 23, 2022, metro Detroit experienced significant

    storms, resulting in power outages within the area serviced by the company’s

    Pontiac Service Center.


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 28.The storms and resulting outages created significant staffing problems

    because workers were not readily available, as they would have been had

    Tullio not directed Howell to cut back on his staffing scheduling.

 29.Howell worked on-call and called different centers, which were fully staffed,

    requesting assistance in responding to the emergency and to restore power,

    but crews were busy restoring power to customers in their service territories

    and could not respond to Pontiac’s area until their outages were cleared up.

 30.Howell also had to utilize the services of a contract company at greater

    expense to the company, which extended restoration time to customers.

 31.During the outrage and emergency, Tullio and Poteat directed Howell to go to

    the trouble site and work in the field as a lineman repairing broken power

    lines.

 32.Because Howell was a supervisor, his performances of lineman work work

    violate the terms of the collective bargaining agreement between the company

    and its electrical workers.

 33.After the outages over the Thanksgiving weekend, one of Howell’s

    subordinates posted a message to social media that was critical of the

    company’s response to the outages. When Howell learned that this employee

    had made the post, Howell told him to immediately take down the post.




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 34.Tuillo falsely accused Howell of directing his employee to make the social

    media post, and Howell denied doing so because he had not directed the

    employee to make the post.

 35.Tullio seized Howell’s work phone and kept it for five days while security

    looked through it to try and evidence that Howell was responsible for the post.

 36.Finding nothing, they returned the phone to Howell.

 37.In January 2023, Tullio issued Howell’s year-end performance review which

    included negative performance ratings and baseless criticism of Howell’s

    performance.

 38.In January 2023, Howell filed a complaint through the company’s Dispute

    Resolution Program (DRP), stating:

          I am following up with the dispute discussion. It was brought to my
          attention today that on my REP review that one of my marks was due
          to Thanksgiving when I was oncall. We had a outage in Pontiac that I
          was covering. I called every service center to get help to cover the
          outage. I was told by my Manager Jerry [Tullio] to get a Overhead
          Crew and for me to go out and perform the work myself with the
          Overhead crew. I explained to Jerry I’m not qualified to work in the
          UG URD. Then it was mentioned that I was pushing back to go out to
          the field once I got a crew. After I got my crew I still had to get the
          transformer located that was not in stock at Pontiac ware house. I also
          had to get a contractor to help with transporting and assisting my
          Underground crew. And this took time because other people got
          involved that delayed all the progress I made getting a kaltz crew after
          motor city did not help. It was either at that time go out to the job and
          continue to delay the job or make continue to make the phone calls to
          get everything the crew needed. I’m getting blamed for this day but I
          did my job above and beyond to get the help we needed to restore the
          customers. I was not the one who made the decision to cancel the oncall
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          splicing crews, not bring in splicing crews to work capital works so that
          we can flex them to trouble when needed or not to fill vacant shifts. All
          of these decisions were made by Jerry [Tullio] that caused all of the
          results of Thanksgiving Day. I did everything I could to make
          everything right.

          Jerry also mentioned the discipline I received for trying to hide a
          accident. In my dispute with that discipline I explained that I did not
          turn it in on time waiting for the mechanics to give me information on
          if it was damaged to the truck. I’m getting blamed for hiding a accident
          after Jerry made the comment to me “to bad we cant hide accidents like
          we used to” I never hid the accident if I was trying to hide a accident
          why would I tell the crew to turn the truck into the mechanics
          immediately that morning. This discipline was not warranted.

 39.The company’s HR vice president, Diane Antishin, reviewed Howell’s dispute

    resolution complaint and upheld his year-end performance review.

 40.Antishin concluded that Jerry Tullio had “coached” Howell on performance

    problems throughout 2022 but this was not true, as Tullio had not provided

    Howell any performance coaching.

 41.Howell asked Antishin to provide any documentation supporting her assertion

    that Tuillo had “coached” him, but she could not provide any.

 42.Howell reported to the Company’s Ethics investigators, including Karen

    Glussac, that he and other African American employees were treated

    differently by Tullio, and that Tullio made specific requests and directives for

    African American employees that he did not make for Caucasian employees.

 43.These differences in treatment included directing African American

    supervisors to spend four hours each day in the field, which is not a required
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    part of the General Supervisor position and is not demanded of Caucasian

    supervisors.

 44.In addition, Tullio applied different rules for overtime for African American

    employees in contrast to Caucasian employees.

 45.Tullio also took overtime pay away from Howell even though he had worked

    overtime.

 46.On April 11, 2023, the company placed Howell on a Performance

    Improvement Plan (PIP).

 47.The original end date for the PIP was June 26, 2023.

 48.The PIP did not identify or describe any specific performance issues or gaps

    in performance, and instead asserted baseless and generic expectations that

    were not based in fact.

 49.In truth, the PIP had no basis in fact, and Howell clearly informed the

    company of the factual reasons why the assertions in the PIP, though vague

    and generic, were false.

 50.Howell refused to sign the PIP because the assertions of poor performance

    were false.

 51.In April 2023, Human Resources Manager Brittany Gray told Howell that he

    should not have been placed on the PIP.




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 52.Gray informed Howell that the PIP was rescinded and that it was null and

    void.

 53.On May 8, 2023, Diane M. Antishin – Vice President, HR and Chief Diversity

    and Inclusion Officer, responded to Howell’s DRP complaint, which he had

    filed in January 2023.

 54.In her letter, Antishin stated:

            After careful review of the material you submitted, I must tell you,
            however, that I support your leader’s decision on a “Inconsistent
            Contributor” for 2022. I came to this conclusion for the following
            reasons:

                  • I believe that your 2022 expectations and the desired results
                    for those expectations were clearly communicated to you
                    throughout the year to keep you informed of your leader’s
                    expectations, including at the 1:1 Connect discussions and
                    year-end discussions with Management.
                  • Finally, your rating of “Sometimes” in all areas of the
                    Performance Summary Leader Input regarding your
                    performance and development that were included in your
                    2022 evaluation indicate that an “Inconsistent Contributor” is
                    appropriate for this performance period.

 55.The company formally re-started Howell’s PIP on May 9, 2023, with a

    scheduled plan end date of August 14, 2023.

 56.As with the prior PIP from April 2023, the May 9 PIP included “areas

    requiring improvement” and “objectives/expectations to be met/measures”

    that were generic and vague and had no basis in fact.

 57.Howell clearly informed the company why the PIP had no basis in fact.

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  58.Over the next 8-10 weeks, Howell was required to attend weekly meetings

     under the PIP with Jerry Tullio and Diana Martinez from Human Resources.

  59.These meetings failed to reveal any specific performance issues or changes

     that could be made to bring Howell into compliance with Tullio’s

     expectations.

  60.On May 11, 2023, Howell sent an email to Diane Antishin responding to her

     letter denying his DPR complaint. Howell wrote to Antishin as follows:

                 Good morning Diane,

                 I received my DRP outcome yesterday and its some things that
                 are bothering me….
                 Yes my expectations were communicated to me throughout the
                 year by my Manager Glen McCoy and I worked extra hard to
                 always meet or go above my expectations. Jerry did not come to
                 Pontiac s/c until November so how could he know how I
                 performed throughout the year up until he came to Pontiac. I
                 never had a 1:1 connect discussion with Jerry all of 2022. Jerry
                 first week here at Pontiac I had to chase and beg him for a quick
                 sitdown trying to go over some things we were working on as a
                 team throughout the yar and first words out of his mouth “Is
                 Underground stealing OT or are the hours justified”. He did not
                 want to talk about anything or positive about what was going on
                 in Pontiac prior to his arrival. I had my one on one’s with Glen
                 McCoy throughout the year so why am I being graded on the
                 month of him being here? He does not like me! He has been
                 harassing me since his arrival! He has made numerous false
                 statements about me! I understand that when new management
                 team comes and they want their people around them, he has made
                 it clear that he does not want me her making comments “im not
                 his first round choice” or “one day I may get to trust you”. I have
                 asked to be moved, stepped down as GS at Pontiac but it seems
                 like nobody is here to help me or all the other employees in
                 Northwest Region. Jerry never provided any facts on the reason
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                  why I was scored that way, the only facts he has provided to me
                  and Diana Martinez is “I feel or how we feel”. Not one piece of
                  documents showing that im deficient in any of these areas. I
                  thought for my dispute he had provided physical facts that I am
                  deficient in any of these areas not how he feels? So now im on
                  a PIP with half of the items that do not pertain to my role as GS
                  of Pontiac. When someone is put on a PIP isn’t it suppose to be
                  in areas they are deficient in? And provide the documents
                  showing that they are deficient?

                  I have worked for this company over 20 years and Love what I
                  do. But being harassed on my job has been stressing me out.
                  Nobody is trying to help us in the Northwest and people are
                  starting to think that the company will not help us because of who
                  he is being the nephew of Jerry Norcia. I know there has been
                  numerous of ethic and other complaints filed but we have not
                  seen any help our way. The company is always talking about
                  Service keys but they are failing us on “Carring”. I am not
                  perfect I make mistakes but I own up to them and make sure I do
                  better the next time, but to be continuously harassed is not fair.

                  Can we please set up a time today to talk in more detail.

                  Thank you.


  61.Antishin refused to provide Howell with any of the information on which she

     based her decision.

  62.In June 2023, Howell offered to be demoted back to a field position, writing

     to Jerry Tullio:

                  Jerry,

                  I am writing to officially step down from the General Supervisor
                  position. You have made it very clear I am not the person you
                  want leading the personnel of Underground. Your attitude and
                  most recent disrespect demonstrated toward me during our last
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                  PIP discussion made it very clear you do not appreciate me or my
                  skills in leading Underground. Your expectations for me as
                  General Supervisor of Pontiac are not the same expectations you
                  have for all of the General Supervisors and Supervisors under
                  your leadership. I am asking that you work with [Human
                  Resources] to make this transition as quick as possible.

                  John Howell

  63.Howell sent this email to Tullio as well as to his Director, Markieth Poteat,

     and to Vice President Joe Musallam. All of them ignored Howell’s request.

  64.DTE Energy has, by custom and practice, allowed Caucasian supervisors the

     opportunity to return to the field positions when requested, or in response to

     asserted performance or disciplinary issues. For example:

        a. In 2022, the general supervisor of overhead John Wagner, from the
           Company’s Pontiac Station, had a meeting with his staff in which he
           called one of his supervisors the “N-word”. He was given the option to
           either quit or go back to the field. Wagner was allowed to remain
           employed with the company as a lineman.

        b. Patrick Liaggio, a field supervisor, used his company truck to haul a
           personal trailer to Northern Michigan, and submitted for and received
           overtime for the trip. Liaggio merely received a verbal warning and
           was allowed to self-demote back to a field position.

  65.In July 2023, Tullio and Diane Martinez (from Human Resources) called

     Howell into a meeting and told him that his employment with DTE Energy

     was terminated. Tullio provided Howell with a termination letter dated July

     10, 2023, signed by Tullio.




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  66.The termination letter asserted as the basis for termination: “Despite repeated

     efforts to address your performance shortcomings, which included being

     placed on a Performance Improvement Plan, you have failed to sustain

     performance at an acceptable level for your position. Consequently, your

     employment is terminated effective immediately.”

  67.During the termination meeting, Tullio and Martinez refused to provide

     Howell with any specific examples or information related to his alleged

     deficient performance.

  68.As a direct result of the adverse treatment alleged in the paragraphs above,

     Plaintiff has experienced and will continue to experience economic damages

     including lost wages and benefits and other forms of compensation, past and

     future.

  69.As a direct result of the adverse treatment alleged above, Plaintiff has

     experienced and will continue to experience non-economic damages

     including humiliation, mental anguish, outrage, embarrassment and loss of

     reputation and loss of business expectancy.

                                COUNT I
                       VIOLATION OF 42 U.S.C. § 1981
                  RACE DISCRIMINATION AND RETALIATION

  70.Plaintiff hereby incorporates and re-alleges the foregoing paragraphs by

     reference.


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  71.Under 42 U.S. C. § 1981, Defendant was obligated to refrain from

     discriminating against Plaintiff because of his race and from retaliating against

     Plaintiff because of his complaints of discrimination.

  72.In violation of this statutory obligation, Defendant discriminated against

     Plaintiff because of his race and retaliated against Plaintiff because of his

     complaints of discrimination.

  73.In violation of this statutory obligation, Defendant subjected Plaintiff to a

     baseless performance improvement plan and terminated Plaintiff because of

     his race and because of his complaints of race discrimination.

  74.Defendant treated Plaintiff differently than similarly situated employees who

     were not African American and who did not make complaints of race

     discrimination.

  75.In further violation of this statutory obligation, which allowing similarly

     situated Caucasian employees to return to field work in lieu of discipline or

     termination, Defendant, because of Plaintiff’s race, denied Plaintiff’s request

     to return to field work so that he could continue his career with DTE Energy

     without being subject to direct discrimination and harassment by Tullio.

  76.Defendant denied Plaintiff’s request to return to field work despite the fact

     that it permitted Caucasian co-workers to return to field work, as alleged

     above.


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  77.Defendant’s assertions of poor performance against Plaintiff are false as a

     matter of fact and were manufactured merely as a pretext for Defendant’s

     discrimination against Plaintiff because of his race and for Defendant’s

     retaliation against Plaintiff for his complaints of race discrimination.

  78.As a direct result of the violation of Plaintiff’s civil rights as alleged above,

     Plaintiff has and will continue to experience lost earnings and benefits;

     Plaintiff has and will continue to experience emotional distress, humiliation,

     loss of reputation and mental anguish.

  79.Defendant’s conduct was willful and malicious entitling Plaintiff to punitive

     damages.

  80.Accordingly, Plaintiff requests the following relief:

        a. An order awarding compensatory damages;

        b. An order awarding punitive damages;

        c. An order of reinstatement;

        d. An order awarding statutory attorney fees and reimbursement of

            litigation costs; and

        e. An order awarding such other relief the court deems just and equitable.




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                          COUNT II
        VIOLATION OF ELLIOTT LARSEN CIVIL RIGHTS ACT
                   RACE DISCRIMINATION

  81.Plaintiff hereby incorporates by reference all previous paragraphs of this

     Complaint as if fully set forth herein.

  82.Howell is a member of a protected class on the basis of his race, African-

     American.

  83.Howell was qualified for the position of General Supervisor at DTE.

  84.Howell suffered adverse employment actions, including, but not limited to:

     poor performance reviews, placement on a performance improvement plan

     and discharge.

  85.Howell was replaced by a person who is not a member of his protected class;

     alternatively, other similarly situated employees, who are not members of the

     protected class were treated more favorably than Howell, as set forth in more

     detail above.

  86.One of the motives or reasons for the adverse employment actions taken

     against Howell was his race.

  87.As a direct and proximate result of DTE’s violations of Elliott Larsen Civil

     Rights Act, Plaintiff suffered damages, including, but not limited to: lost past

     and future wages, lost past and future employment benefits and emotional

     distress.


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                           COUNT III
         VIOLATION OF ELLIOTT LARSEN CIVIL RIGHTS ACT
                         RETALIATION

   88.Plaintiff hereby incorporates by reference all previous paragraphs of this

      Complaint as if fully set forth herein.

   89.Howell engaged in protected activity when he opposed DTE’s violations of

      the Elliott Larsen Civil Rights Act (ELCRA) by his acts and communications

      more fully described above.

   90.Howell’s opposition to the violations of ELCRA were known to DTE.

   91.Howell suffered adverse employment actions, including, but not limited to:

      poor performance reviews, placement on a performance improvement plan

      and discharge.

   92.There was a causal connection between the protected activity and the adverse

      employment actions taken by DTE.

   93.As a direct and proximate result of DTE’s violations of ELCRA, Plaintiff

      suffered damages, including, but not limited to: lost past and future wages,

      lost past and future employment benefits and emotional distress.


   WHEREFORE, Plaintiff requests that this Court enter judgment in his favor

against Defendant, and award him economic and non-economic damages sustained

as a direct and proximate result of Defendant’s conduct, punitive damages, all other

equitable and injunctive relief deemed appropriate at the time of final judgment,
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together with costs and interest, attorney fees and all other such legal and equitable

relief as this court deems just and proper.

                                  JURY DEMAND

      Plaintiff hereby demands a trial by jury of the within cause.


                                               STEMPIEN LAW, PLLC


                                               /s/ Eric Stempien
                                               By: Eric Stempien (P58703)
                                               Attorney for Plaintiff
Dated: September 11, 2024




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